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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA            : Hon. Susan D. Wigenton

           v.                       : Crim. No. 20-494 (SDW)

SAMORA PATTERSON                    :

                  AMENDED BRIEFING SCHEDULING ORDER

     This matter having come before the Court for an entry of an amended

briefing scheduling order; and the United States being represented by Rachael

Honig, Acting United States Attorney for the District of New Jersey (by Sean

M. Sherman, Assistant U.S. Attorney, appearing); and the Defendant Samora

Patterson, being represented by K. Anthony Thomas, Esq.; and the parties

having met and conferred and having agreed on an amended schedule for

the filing and argument of pretrial motions; and the Court having accepted

such schedule, and for good cause shown,
      It is on this 22nd day of June, 2021, ORDERED that:

          a) The Defendant shall file any and all pretrial motions, pursuant to

 Federal Rules of Criminal Procedure 12(b) and 41(h), in the manner set forth in
 L. Civ. R. 7.1, on or before September 3, 2021.

          b) The Government shall file any response to the Defendant’s pretrial

 motions on or before September 17, 2021.

          c) The Defendant shall file any reply on or before September 24, 2021.

                                                                 TO BE SET at
          d) Oral argument on pretrial motions shall be held on ____________

 ____ a.m./p.m.

                           __________________________________________
                           THE HONORABLE SUSAN D. WIGENTON
                           United States District Judge
